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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY C. STANCEU, SENIOR JUDGE
__________________________________________
                                           :
NUTRICIA NORTH AMERICA, INC.,              :
                                           :
                        Plaintiff,         :                      Court No. 16-00008
                                           :
                  v.                       :
                                           :
UNITED STATES,                             :
                                           :
                        Defendant.         :
__________________________________________:

                                           ORDER

        Upon reading plaintiff’s consent motion to withdraw their motion for summary judgment,

and file a new proposed scheduling order; and upon consideration of other papers and proceedings

had herein; it is hereby

       ORDERED that plaintiff’s Motion be, and hereby is, GRANTED; it is further

       ORDERED that Plaintiff’s Motion for Summary Judgment filed on January 21, 2022 is

withdrawn; and it is

       ORDERED that Plaintiff shall submit a new Motion for Summary Judgment by August 31,

2022; and it is

       ORDERED that Defendant shall submit its Cross-Motion for Summary Judgment and

Response to Plaintiff’s Motion for Summary Judgment by October 28, 2022.

       ORDERED that, if necessary, trial will begin at a time and place ordered by the Court.

                                              /s/ Timothy C. Stanceu
                                            _____________________________________
                                            TIMOTHY C. STANCEU, SENIOR JUDGE
Dated: New York, NY
       5th day of _______,
This _____         May 2022
